Case 3:24-cv-01012-AGS-AHG Document 1 Filed 06/07/24 PageID.1 Page 1 of 5

                                                             Jun 07 2024

                                                               s/ STN




                                                  '24CV1012 AGS AHG
Case 3:24-cv-01012-AGS-AHG Document 1 Filed 06/07/24 PageID.2 Page 2 of 5
Case 3:24-cv-01012-AGS-AHG Document 1 Filed 06/07/24 PageID.3 Page 3 of 5
Case 3:24-cv-01012-AGS-AHG Document 1 Filed 06/07/24 PageID.4 Page 4 of 5
Case 3:24-cv-01012-AGS-AHG Document 1 Filed 06/07/24 PageID.5 Page 5 of 5
